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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

                                   9

                                  10     CITY AND COUNTY OF SAN                            Case No. 17-cv-00485-WHO
                                         FRANCISCO,
                                  11                    Plaintiff,                         ORDER RELATING CASES
                                  12
Northern District of California




                                                  v.                                       Re: Dkt. No. 238
 United States District Court




                                  13
                                         DONALD J. TRUMP, President of the
                                  14     United States, UNITED STATES OF
                                         AMERICA, JOHN F. KELLY, Secretary of
                                  15     United States Department of Homeland
                                         Security, JEFFERSON B. SESSIONS III,
                                  16
                                         Attorney General of the United States,
                                  17     DOES 1-100,

                                  18                    Defendants.
                                  19

                                  20

                                  21          On February 7, 2025, plaintiffs City and County of San Francisco and County of Santa
                                  22   Clara filed a motion for administrative relief to consider whether their case, City and County of
                                  23   San Francisco v. Trump, No. 25-cv-1350 (N.D. Cal.), should be related to the above-captioned
                                  24   case. See Civil L.R. 3-12. The time for filing an opposition or statement of support has passed.
                                  25          Previously, the cases below have been related to the above-captioned action:
                                  26          •   County of Santa Clara v. Trump, No. 3:17-cv-00574-WHO (N.D. Cal.);
                                  27          •   City of Richmond Police Department v. Trump, No. 3:17-cv-01535-WHO (N.D. Cal.);
                                  28          •   City and County of San Francisco v. Sessions, No. 3:17-cv-04642-WHO (N.D. Cal.);
                                         Case 3:25-cv-01350-SK          Document 15          Filed 02/12/25     Page 2 of 2




                                              •   State of California v. Sessions, No. 3:17-cv-04701-WHO (N.D. Cal.);
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                                   2          •   City and County of San Francisco v. Sessions, No. 3:18-cv-05146-WHO (N.D. Cal.);

                                   3          •   State of California v. Sessions, No. 3:18-cv-05169-WHO (N.D. Cal.); and
                                   4          •   State of California v. Barr, No. 3:19-cv-06189-WHO (N.D. Cal.).
                                   5
                                       The above-captioned case is the earliest filed of the cases listed above.
                                   6
                                              I find that City and County of San Francisco v. Trump, No. 25-cv-1350 (N.D. Cal.) is
                                   7
                                       related to the cases assigned to me, and therefore that it shall be reassigned to me.
                                   8

                                   9          Counsel are instructed that all future filings in any reassigned case are to bear my initials

                                  10   (WHO) immediately after the case number. The previously scheduled case management

                                  11   conference will be rescheduled. The parties shall adjust the dates for the conference, disclosures
                                  12
Northern District of California




                                       and report required by FRCivP 16 and 26 accordingly. Unless otherwise ordered, any dates for
 United States District Court




                                  13
                                       hearing noticed motions are vacated and must be re-noticed by the moving party before the newly
                                  14
                                       assigned judge; any deadlines set by the ADR Local Rules remain in effect; and any deadlines
                                  15
                                       established in a case management order continue to govern, except dates for appearance in court,
                                  16

                                  17   which will be rescheduled by the newly assigned judge.

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                                              IT IS SO ORDERED.
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                                       Dated: February 12, 2025
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                                  22                                                                 William H. Orrick
                                                                                                     United States District Judge
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